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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


 Kaitlyn Tansey and Sarah Caudill,
 on behalf of themselves and all
 similarly situated employees,     Case No. 18-cv-13800

                        Plaintiffs,     Judith E. Levy
                                        United States District Judge
 v.
                                        Mag. Judge Mona K. Majzoub
 Katherine’s Catering and Special
 Events, Inc., et al.,

                        Defendants.

 ________________________________/

      ORDER REQUIRING ATTORNEY FEES TIME RECORDS
                   TO BE SUBMITTED

      The parties to the above-captioned case have submitted a proposed

settlement agreement in this matter involving claims under the Fair

Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq. In the proposed

settlement, plaintiffs’ counsel has requested attorney fees and costs.

      Upon receipt of a request for attorney fees and costs in an FLSA

case, the Court must assess whether the request is reasonable using the

lodestar calculation method and then adjust the award as necessary to
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suit the circumstances of the case. Smith v. Service Master Corp., 592 F.

App’x 363 (6th Cir. 2014).

      Accordingly, plaintiffs’ counsel shall file billing records and a

declaration or empirical data found in surveys and other reliable reports

regarding fees customarily charged in the locality for similar legal

services by Monday April 1, 2019, so that the Court may weigh the

reasonableness of the agreed upon attorney fees and costs in advance of

the hearing scheduled in this matter on Wednesday April 3, 2019.

      IT IS SO ORDERED.

Dated: March 28, 2019                    s/Judith E. Levy
     Ann Arbor, Michigan                 JUDITH E. LEVY
                                         United States District Judge




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